       Case 1:17-cr-00056-DLH          Document 154         Filed 11/15/17      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )       ORDER
                                              )
       vs.                                    )
                                              )
Travis Lynn Delorme,                          )       Case No. 1:17-cr-056
                                              )
               Defendant.                     )


       Before the court is a “Motion to Amend Detention Order/Motion for Release to Halfway

House” filed by defendant on November 14, 2017. Defendant was remanded to custody following

a detention hearing on October 18, 2017. He now requests to be placed on the waiting list for a

residential facility placement and released when space becomes available. He advises that the

Government has no objection his request.

       Having reviewed the record, the court is not inclined to grant defendant’s request. The court

previously ordered defendant detained pending trial, finding that the Government had demonstrated

by a preponderance of the evidence that defendant was a flight risk and by clear and convincing

evidence that there were no conditions it could impose upon defendant o reasonably ensure the

safety of other persons or the community. In making its finding, the court took particular note of

the nature of the alleged offenses and the presumption of detention, defendant’s criminal history,

defendant’s history of flight, and defendant’s history of noncompliance with court orders. Given

defendant’s record, the court remains unconvinced that defendant is a suitable candidate for a

residential facility placement. Even if the defendant was added to the waiting list for a residential

facility placement, the chances that space would open up for him in the near term appears beyond


                                                  1
       Case 1:17-cr-00056-DLH         Document 154       Filed 11/15/17      Page 2 of 2




remote given the sheer number of defendants on already on the waiting list coupled with the

likelihood of others appearing going forward that are more deserving of a placement.

       Defendant’s motion (Doc. No. 148) is DENIED.

       IT IS SO ORDERED.

       Dated this 15th day of November, 2017.

                                                    /s/ Charles S. Miller, Jr.
                                                    Charles S. Miller, Jr., Magistrate Judge
                                                    United States District Court




                                                2
